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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                   )                  Chapter 7
In re:                             )
                                   )                  Case No. 23-10253 (KBO)
AKORN HOLDING COMPANY LLC et. al., )
                                   )                  (Jointly Administered)
                  Debtors.         )
                                   )                  Hearing Date: May19, 2022 at 10:00 AM
                                                      Objection Date: May 16, 2024
                                   )
                                   )                  Docket Nos. 106 and 146
                                   )

           ORACLE’S RIGHTS RESERVATION REGARDING THE TRUSTEE’S
         SALE MOTION AND ASSUMPTION NOTICE (“RIGHTS RESERVATION”)

         Oracle America, Inc., successor in interest to JD Edwards, Inc. (“Oracle”), a creditor and

contract counter-party in the above-captioned Chapter 7 cases, submits this Rights Reservation in

response to: (1) Trustee’s Motion for Entry of (I) An Order (A) Approving Bidding Procedures in

Connection With Sale of Substantially All of the Estates’ Assets, (B) Scheduling an Auction and

Hearing to Consider the Proposed Sale, and (C) Approving the Form and Manner of Notice

Thereof; and (II) An Order (A) Approving the Sale, (B) Authorizing the Assumption and

Assignment of Executory Contracts and Unexpired Leases, and (C) Granting Certain Related

Relief (“Sale Motion”) [Dkt. No. 106] and (2) Notice of Executory Contracts and Unexpired

Leases That May Be Assumed and Assigned, Pursuant to Section 365 of the Bankruptcy Code, in

Connection with the Sale of Substantially all of the Debtors’ Assets, and the Proposed Cure

Amounts (“Assumption Notice”) [Dkt. No. 146], filed by George L. Miller, in his capacity as the

Chapter 7 Trustee (“Trustee”) for Akorn Holding Company LLC, et al. (“Debtors”).

I.       INTRODUCTION

         1.     There are numerous active agreements between Oracle and the Debtors for both

Oracle and JD Edwards products and services.
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         2.       By the Sale Motion, the Trustee seeks Bankruptcy Court authority to, among other

things, sell some or substantially all of the Debtors’ assets, and to assume and assign certain

executory contracts.

         3.       Although the Trustee has not, at this time, specifically identified any such Oracle

agreement for assumption and assignment, the Trustee has identified an Engagement Letter for

Application Managements Services between Akorn Operating Company and Deloitte Consulting

LLP, for the use of certain Oracle/JD Edwards services.

         4.       Oracle therefore files this Rights Reservation to ensure its contracts are not being

transferred without its consent.

         5.       Oracle’s agreements are, or pertain to, licenses of intellectual property that are not

assignable absent Oracle’s consent, pursuant to both the underlying license agreements and

applicable law.

         6.       Oracle will not consent to any assumption and assignment of its agreements if the

Debtors do not first cure all defaults and provide Oracle with adequate assurance regarding any

purchaser’s ability to perform under the terms of Oracle’s contracts.

         7.       Oracle files this Rights Reservation in the event any Oracle agreement is identified

for assumption and assignment, or is otherwise impacted by the as-yet unfiled Asset Purchase

Agreements (“APA”) between the Debtors and the purchaser(s).1

         8.       Accordingly, Oracle requests that the Court deny any request by the Debtors for

authority to assume and assign, or transfer, any Oracle agreement in the absence of Oracle’s

consent.




1
 Oracle also reserves all rights to the extent that any APA or related agreement contemplates the transfer of any Oracle
agreement or unauthorized shared use of Oracle product, for example for any transitional period.

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II.     FACTUAL BACKGROUND

        9.     The Debtors filed the above-captioned case on February 23, 2023 (“Petition Date”)

and the Trustee was appointed thereafter.

        10.    Oracle is a licensor of computer software and provides software related products,

technical support, maintenance, educational materials, and programs, as well as cloud-based

services, which Oracle often customizes to meet the customer’s specific needs.

        11.    Prior to the Petition Date, Oracle and the Debtors entered into multiple Ordering

Documents and several Oracle License and Services Agreements for certain Oracle and JD

Edwards EnterpriseOne products and related services (collectively, the “Oracle Agreements”).

        12.    The Trustee filed the Sale Motion on April 20, 2023. Pursuant to the Sale Motion,

the Trustee seeks approval to sell some or substantially all of the Debtors’ assets to one or more

purchasers. No stalking bidder has been identified.

        13.    On April 28, 2023, the Court entered an Order [Dkt. No. 137] (“Order”) approving

certain bid procedures. Pursuant to the Order, an auction was scheduled for May 10th, 11th, and

12th.

        14.    As of the filing of this Rights Reservation, no successful bidder has been identified

and no APA between the Trustee and any proposed purchaser(s) has been filed with the Court.

        15.    Oracle is therefore unable to determine whether (and if so, how) its rights may be

affected by the sale or any APA or related agreement entered into between the Trustee and the

purchaser(s). Oracle accordingly reserves all rights to object to the APA between the Trustee and

the ultimate purchaser(s).

        16.    On May 1, 2023, the Trustee filed the Assumption Notice. Although no Oracle

agreements are identified by the Assumption Notice, it does identify an Engagement Letter for



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Application Management Services for Oracle JD Edwards between Deloitte Consulting LLP and

Akorn Operating Company.

III.    ARGUMENT

              A.      The Debtors May Not Assume And Assign Oracle’s Agreements
                      Absent Oracle’s Consent Because They Pertain To Licenses Of
                      Intellectual Property.

        17.        Section 365(c) of the Bankruptcy Code provides, in relevant part:

                   The trustee may not assume or assign any executory contract ... of
                   the debtor ... if (1)(A) applicable law excuses a party, other than the
                   debtor, to such contract or lease from accepting performance from
                   or rendering performance to an entity other than the debtor ...,
                   whether or not such contract or lease prohibits or restricts
                   assignment of rights or delegation of duties; and (B) such party does
                   not consent to such assumption or assignment.

        18.        Federal law makes non-exclusive patent licenses non-assignable absent consent of

the licensor. See In re Catapult Entertainment, Inc., 165 F.3d 747 (9th Cir. 1999), cert. dismissed,

528 U.S. 924 (1999) (patent law renders non-exclusive patent licenses personal and non-assignable

under Bankruptcy Code § 365(c)(1)); In re Sunterra Corp., 361 F.3d 257, 271 (4th Cir. 2004)

(holding that a debtor was statutorily barred by § 365(c)(1) from assuming a computer software

license where contract counterparty did not consent to the assumption); In re: West Elec., Inc.) 852

F. 2d 79 (3d Cir. 1988) (holding that the “provision limiting assumption of contracts is applicable

to any contract subject to a legal prohibition against assignment.”), In re Trump Entm't Resorts,

Inc., 526 B.R. 116, 126 (Bankr. D. Del. 2015) (“Non-exclusive patent and copyright licenses create

only personal and not property rights in the licensed intellectual property and so are not

assignable.”); In re Rupari Holding Corp., 573 B.R. 111, 119 (Bankr. D. Del. 2017) (holding that

the debtor could not assume and assign a trademark license without the consent of the non-debtor

licensor).



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       19.        The Oracle Agreements are, or pertain to, a non-exclusive license of copyrighted

software. Therefore, pursuant to Bankruptcy Code section 365, the Trustee may not assume and

assign the Oracle Agreements without Oracle’s consent.

       20.        For the reasons discussed herein, Oracle does not consent to any proposed

assumption and assignment at this time.

             B.      The Trustee Has Not Adequately Identified Any Oracle Agreement
                     To Assume and Assign.

       21.        At this time, the Trustee has not specifically identified any Oracle agreement for

assumption and assignment and the Trustee has only identified an agreement with Deloitte

Consulting LLP for what appears to be the use of certain Oracle services.

       22.        In addition, no APA has been filed. Therefore, Oracle cannot evaluate how the Sale

Motion affects Oracle.

       23.        To the extent the Trustee ultimately seeks to assume and assign Oracle’s

agreements, Oracle requests that the Trustee provide a specific contract (a) name; (b) identification

number; (c) date; (d) whether the targeted contract pertains to support or support renewals; and (e)

the governing license agreement for each contract.

       24.        This information will enable Oracle to evaluate whether each agreement is

assignable, whether it is supported, expired or in default, and, if so, the appropriate cure amount.

       25.        Additionally, this information will allow Oracle to assess whether Oracle may

accept performance from an entity other than the Debtors.

       26.        Oracle reserves its right to be heard on this issue until after the Trustee identifies

any Oracle contract for assumption and assignment with greater specificity.




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             C.      To The Extent the Trustee Seeks To Assume And Assign The Oracle
                     Agreements, An Adequate Cure Amount and Adequate Assurance
                     Of Future Performance By The Purchaser(s) Must Be Provided.

       27.        If one object of the Sale Motion is to authorize the Trustee to assume and assign

the Oracle Agreements, the Trustee cannot accomplish this unless all defaults are cured and

adequate assurance of future performance by the purchaser(s) is provided.

       28.        Before assuming and assigning any executory contract, the Trustee must cure any

default. 11 U.S.C. § 365(b)(1)(A). At present, Oracle has no assurance that the Trustee or the

purchaser(s) intend to pay the required cure amounts.

       29.        Oracle reserves its right to object to the cure amount in the event the Trustee

ultimately seeks to assume and assign, or transfer, the Oracle Agreements.

       30.        Before assuming and assigning any executory contract, the Trustee must provide

adequate assurance of future performance. 11 U.S.C. § 365(b)(1)(C).

       31.        In the event the Trustee intends to assume and assign any Oracle agreement, Oracle

requests that the Trustee provide the following information about the relevant purchaser(s):

(a) financial bona fides; (b) confirmation that the purchaser(s) is not an Oracle competitor; and

(c) confirmation that the purchaser(s) will (i) execute an Oracle Assignment Agreement and related

documentation which identifies all of the Oracle executory contracts to be assigned, and (ii) if

appropriate, enter into an Oracle Master Licensing Agreement.

       32.        Absent   these   assurances,   Oracle    cannot   determine    the   purchaser(s)’

creditworthiness, suitability as an Oracle customer, or ability to adequately perform under the

terms of the Oracle Agreements.

       33.        Until the information described above is provided, the Trustee has not complied

with the requirements of section 365(b)(1).



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IV.    CONCLUSION

       34.    For the foregoing reasons, Oracle respectfully requests that any request by the

Trustee for authority to assume and assign, or transfer any Oracle agreement in the absence of

Oracle’s consent be denied.

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